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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

JOHN DOE,                                        )      Civil Action
                                                 )      No. 3:17-cv-00364-JBA
                     Plaintiff,                  )
                                                 )
v.                                               )
                                                 )
QUINNIPIAC UNIVERSITY, TERRI                     )
JOHNSON, SEANN KALAGHER,                         )
AND VINCENT CONTRUCCI                            )
                                                 )
                     Defendants.                 )      MAY 1, 2017


                   PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                        MOTION FOR LEAVE TO AMEND

       Pursuant to Fed. R. Civ. P. 15(a) and District of Connecticut Local Rules 7(a) and

7(f), Plaintiff John Doe respectfully moves for leave to file his Second Amended

Complaint. In accordance with Local Rule 7(f), redlined and clean versions of the

proposed Second Amended Complaint are attached hereto as Exhibits A and B,

respectively.

       Plaintiff seeks leave to add certain factual allegations related to Defendant

Quinnipiac University’s (“QU”) disability policies that address QU’s obligations under the

Americans with Disabilities Act (“ADA”) and Section 504 of the Rehabilitation Act of

1973 (“Section 504”), which QU has promulgated in its Student Handbook and other

relevant documents. See Ex. A, ¶¶ 15, 19, 199, 202, 204, 206. Pursuant to Local Rule

7(f), counsel for Plaintiff consulted with counsel for Defendants, and Defendants have

no objection to these amendments.

       Second, Plaintiff also proposes to add two new counts: Count Eleven

(negligence) and Count Twelve (reckless and wanton misconduct) (the “Two Proposed


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Counts”). See Ex. A, ¶¶ 237-257. After consultation pursuant to Local Rule 7(f),

Defendants object to the Two Proposed Counts solely on the ground of alleged

prejudice due to delay. Defendants raise no objection to the Two Proposed Counts on

any other basis.

        Legal Standard

        Leave to amend should be granted over Defendants’ objection. It is well-

established that the standard for granting leave to amend under Fed. R. Civ. P. 15(a) is

liberal. “Leave to amend should be ‘freely give[n] ... when justice so requires.’ The rule

in this Circuit has been to allow a party to amend its pleadings in the absence of a

showing by the nonmovant of prejudice or bad faith.” Pasternack v. Shrader, 863 F.3d

162, 174 (2d Cir. 2017) (quoting Fed. R. Civ. P. 15(a)(2)). “Mere delay, . . . absent a

showing of bad faith or undue prejudice, does not provide a basis for a district court to

deny the right to amend. Nor can complaints of ‘the time, effort and money . . .

expended in litigating the matter,’ without more, constitute prejudice sufficient to warrant

denial of leave to amend.” Id. (quoting State Teachers Ret. Bd. v. Fluor Corp., 654 F.2d

843, 856 (2d Cir. 1981) and Block v. First Blood Assocs., 988 F.2d 344, 351 (2d Cir.

1993)).

        It is Defendants’ burden to establish that they will be prejudiced by the proposed

amendment. See e.g., Nwachukwu v. Liberty Bank, 257 F. Supp. 3d 280, 285–86 (D.

Conn. 2017) (“The party opposing amendment must show it has been prejudiced by its

adversary's delay in seeking leave”) (citing Block v. First Blood Assocs., 988 F.2d at

350).




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       There Is No Undue Delay or Prejudice

       Defendants cannot establish undue delay, and any delay simply was not

prejudicial. The less-than-eight-month delay since Defendants’ Answer to the First

Amended Complaint (Dk#42, September 11, 2017) does not preclude amendment. See

e.g., Richardson Greenshields Sec., Inc. v. Lau, 825 F.2d 647, 653 n.6 (2d Cir.1987)

(surveying cases and holding that an 18-month delay between defendants' answer and

plaintiff’s motion for leave to file an amended pleading did not constitute undue delay);

Roller Bearing Co. of Am. v. Am. Software, Inc., 570 F. Supp. 2d 376, 384–85 (D. Conn.

2008) (granting leave to amend despite “seven-month delay”).

       Moreover, adding the Two Proposed Counts will not require any modification of

the current scheduling order or in any way delay the trial or other disposition of this

lawsuit. The Two Proposed Counts add no new facts; they merely add additional legal

theories arising from already-pleaded facts. Defendants, therefore, will not need to

expend any additional resources to defend the Two Proposed Counts.

       Discovery will not be affected by the proposed amendment. The Court’s

Scheduling Order directs Defendants to complete written discovery compliance by April

30, 2018. Depositions have not yet commenced, and the window for discovery does not

close until September 26, 2018. (Dk#52). Plaintiff’s proposed amendment thus will

result in no additional discovery obligations for any of the parties, which further supports

amendment. See, e.g., RBC Nice Bearings, Inc. v. Peer Bearing Co., No.

3:06CV1380(AHN), 2008 WL 11376620, *6 (D. Conn. Nov. 5, 2008) (granting leave to

amend where “new allegations will not require RBC to engage in significant, if any,

additional discovery”).



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       Dispositive motions will not be affected by the proposed amendment. Because

dispositive motions are not due until October 26,2018, amendment of Plaintiff’s pleading

is fully warranted. See, e.g., State Teachers Ret. Bd. v. Fluor Corp., 654 F.2d 843, 855-

856 (2d Cir. 1981) (three-year delay did not bar amendment where, among other things,

motion for summary judgment had yet to be filed); see also Middle Atl. Utils. Co. v.

S.M.W. Dev. Corp., 392 F.2d 380, 383 (2d Cir.1968) (three-year delay did not bar

amendment even with notice of trial readiness).

       Defendants cannot plausibly argue prejudice due to unanticipated new claims.

Defendants are already on notice of negligence-based claims because the First

Amended Complaint included a negligent infliction of emotional distress claim (Count

Nine). See, e.g., Vega v. Sacred Heart Univ., Inc., 836 F. Supp. 2d 58, 61 (D. Conn.

2011) (“if the plaintiff cannot prove negligence he or she cannot recover for negligent

infliction of emotional distress”) (quoting Zides v. Quinnipiac Univ., No. CV20470131S,

2006 WL 463182, *5 (Conn. Super. Feb. 7, 2006)). Nor can Defendants argue that

Plaintiffs’ proposed negligence count is a “sharp change in litigation strategy after the

non-moving party has devoted considerable time and expense to discovery, motion

practice, and other proceedings in preparation for trial.” Roller Bearing Co. of Am., 570

F. Supp. 2d at 384.

       Conclusion

       Leave to amend should be granted where, as here, Plaintiff proceeds in good

faith, the proposed Second Amended Complaint will not prejudice Defendants, and

Defendants can raise no valid grounds for denying leave under the applicable

standards.



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                                                  PLAINTIFF
                                                  JOHN DOE

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                                                  His Attorneys


                                      CERTIFICATION

         I hereby certify that on May 1, 2018, a copy of the foregoing Motion for Leave to
File Second Amended Complaint was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.


                                                    By:   /s/ Felice M. Duffy
                                                          Felice M. Duffy




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